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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO

ULRIKE M. WEST,
Plaintiff,
v. No.:

NEW MEXICO TAXATION & REVENUE
DEPARTMENT, and PHILLIP SALAZAR,

Defendants.

NOTICE OF REMOVAL

This action, originally filed in the in the Thircl Judicial District Court, Dona Ana
County, New lVlexico as No. CV-2009-834 (the “State Court Lawsuit’ , is hereby
removed to the United States District Court for the District of New Mexico by
Defendants New Mexico Taxation & Revenue Department and Philllp Salazar. In
support of removal, Defendants set forth the following:

1. On April 2, 2009, Plaintif'f Flled her “Comp|aint for Civi| Rights Violations” in
the Third Judicial District Court, County of Dona Ana, State of New Me)<ico. That action
is now pending in the Thircl Judicial District Court as No. CV-2009-834.

2. Plaintiff completed service of process on Defendant State of New Mexico
Taxation & Revenue Department and on New Mexico Attorney Genera| Gary King,
through service of the complaint on June 15, 2009. A copy of that complaint is

attached to this Notice of Removal as part of E)<hibit A.

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3. Fewer than 30 days have passed since Defendants received the initial
pleading on June 15, 2009.

4. The named defendants in this case, New Mexico Taxation & Revenue
Department and Phi|lip Sa|azar, join in seeking removal of this case to Federa| Court.

5. In her complaint, P|aintiff alleges that her causes of action arise under the
Americans with Disabilities Act. Accordingly, this action may be removed to the United
States District Court for the District of New Me)<ico pursuant to 28 U.S.C. §§ 1441 and
1446.

6. Also in her complaint, Plaintiff alleges that her causes of action arise
under her First Amendment to Freedom of Speech as guaranteed by the U.S.
Constitution. As such, this matter is a civil action arising under the Constitution, laws
and treaties of the United States.

7. Additionally, this Court has supplemental jurisdiction over the Plaintiff's
claims under the New Me)<ico Human Rights Act and New Mexico Common Law, breach
of contract, breach of the covenant of good faith and fair dealing, and for promissory
estoppel.

8. Complete copies of all processes, pleadings, and orders served upon
Defendants in the State Court Lawsuit are attached hereto as Exhibit A.

9. A copy of this Notice is being served on the C|erl< of the Third Judicial

District Court, Dona Ana County, New Me)<ico.

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Respectfully submitted,

MILLER STRATVERT P‘A.

  

fKu G. M s U
lVli| r Stratv P.A.

0 West DeVargas, Suite 9
Post Office Box 1986

Santa Fe, NM 87504-1986
Phone: 505-989-9614

Fax: 505-989-9857
Attorneys for Defendants

CERTIFICATE OF SERVICE

I hereby certify that I caused a true and correct copy of the foregoing to be
served on the following parties or counsel of record thisl§"day of June, 2009, via
United States first class mail, postage prepaid:

Paul M. Gayle-Smith, Esq.

Law Office of Paul M. Gayle-Smith
2961 Sundance Circle

Las Cruces, New Mexico 88011
Phone: (575) 522-8300

Email: GayleSmithEsq@aol.corn
Fax: (866) 324-3783

 

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sTATE OF NEW MEXlCo
COUNTY oF DONA ANA
THIRD JuI)lclAL march CoUR'r

ULRIKE M. wEsT,

)
Plaintiff, )
) §
v. ) CIVIL ACTION N . / ’
)
NEW MEXICO 'I`AXATION & REVENUE)
DEPARTMENT, and PHILLIP SALAZAR) JURY TRIAL DEMANDED
Defendants. )
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THis case ms seen Assenso To
wer JERALD A. vALeNTmE

COl\/IPLAINT FOR CIVIL RIGHTS VI()LA'I`IONS
Plaintit’f, Ulrike M. West, through her undersigned counsel, brings this action, pursuant to the
Amen`cans With Disabilities Act of 1990 (ADA) and the New Mexico' Human Rights Act, as
amended, seeking damages to remedy violations of her civil rights guaranteed by ADA and
New Mexico law. Plaintiff West also seeks damages for violation of rights guaranteed by the
First Amendment to the U.S. Constitution, and damages for breach of conu'act, breach of the
covenant of good faith and fair dealing, and for promissory estoppel pursuant to New Mexico
common law.
JURISI}ICTION AND VENUE
Plajntift` is a resident of Doi’ia Ana County.
Defendant New Mexico Taxation and Revenue Department (Det`endant, TRD or the

Department).is an agency of the State of New Mexico. Defendant Phillip Salazar is the

 

 

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Director of the Audit & Compliance Division within TRD.

All of Plaintif'l"s causes of action arose in New Mexico and the acts and effects complained of
all occurred in New Mexico.

All conditions precedent to the tiling of suit have been met.

The court has subject matter and personal jurisdiction over this complaint and the parties

Venue is proper in this county.

ALLEGATIONS OF FACT
Plaintii`f was born on November 9, 1964.
On February 8_, 1999, the Defendants hired Plaintiff as an entry-level tax auditor.
Subsequently, because of her consistently successful performance ratings, Plaintiff was
promoted to senior tax .auditor.
On March 7, 2003, at the age ot` 38, Plaintitf was diagnosed with Relapsing Remitting
Multiple Sclerosis, thc most common form of multiple sclerosis (muitiple sclerosis or MS).
Multiple sclerosis is a debilitating disease of the central nervous system, the nerves that
comprise the brain and spinal cord.
Symptoms of Relapsing-Rernitting Multiple Sclerosis include, but are not limited to, “the
attack" (also referred to as the reiapse, tlare-up, or exacerbation), which is a bout of specific
symptoms (facial pain, Lhermitte’s sign, vision impairment or bladder instability) that lasts
at least 24 hours and typically several days), and remissions (when symptoms improve or
disappear), usually for about 4-8 weeks
The causes of multiple sclerosis are unknown and it cannot presently be prevented or cured.

ln March 2007, after determining that the poor ergonomic design of her workstation was

 

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causing her unnecessary pain in her neck, back and head and exacerbatng her multiple
sclerosis, Plaintiff made a request for ergonornic office furniture, pursuant to the requirements
of the Americans with Disabilities Act (ADA). The furniture Plaintiff requested was identical
to ftuniture that had already been provided to some of her coworkers none of whom is believed
to have been disabled within the meaning of the ADA.

On October 10, 2007, Plaintit`f made an ADA request for permission to drive her own vehicle
on business trips. Plaintifl’s physician provided a written prescription for use ofPlaintiff’s own
vehicle directly to Defendants, pursuant to Plaintifi`s request
From February 2004 to August 2007, Plajntifl` had previously driven her own vehicle and had
received reimbursement for the expense without incident. However, in retaliation for her
requests for reasonable accommodati on in l\/larch 2007, Dei`endants changed their prior practice
and demanded that Plaintiff negotiate additional, harassing bureaucratic hurdles just to obtain
an accommodation to which she was clearly entitled and which she had previously been
provided without problems
On Decernber l], 2007, Plaintiff filed a charge of discrimination (453-2008-00310) with the
Equal Ernployment Opportunity Commission (EEOC) because more than nine months had
passed without her having received the reasonable accommodation she had requested in March
2007 because of her MS.

On March 29, 2008, more than five months after Plaintift’s physician had provided a written
statement regarding her inability to travel long distances and prescribing the use of her own
vehicle directly to Defendants, Defendants demanded immediate “claritication”, for the first
tirne, regarding Plaintitf’s ADA request to use her own vehicle, or they would deny Plaintifl‘s

request

 

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Orl April 3, 2008, Plaintiff filed a timely charge of discrimination (453-2008»00868) with the
EEOC in which she alleged, inter alia, that she had been retaliated against by Defendants, on
March 29, 2008, on the basis of her disability because she had filed an earlier charge of
discrimination (453-2008-003l0) following her request for a reasonable accommodation

By July 2008, Plaintiff’s health had deteriorated significantly and, as a result, her physician
provided a written recommendation and request that Defendants reduce her work day schedule
to five hour day from 7 a.m. to noon, because Plaintiff` was at her “best” in the morning and best
able to manage her symptoms

On September 15, 2008, Defendant Salazar denied Plaintiff’s reasonable accommodation
request for a part-time schedule, although Plaintiff had by that time, spent several productive
years on a “part-time schedule”.l Defendant Salazar, in an outrageous display of insensitivity
and vindictiveness simultaneously stated that part-time schedules were incompatible with the
performance of the essential functions of Plaintift’s job and then, without explanation, offered
her a temporary part-time work schedule that would be subject to non-renewal in three months.
On October 2, 2008, the EEOC made a formal determination that Plaintifl` had in fact been
discriminated as alleged in her charge of discrimination (453-2008-00310) filed on December
ll, 2007.2 The EEOC is now pursuing conciliation procedures to resolve the charge of
discrimination before referring it to the U.S. Department of Justiee for litigation or before
issuing a formal right to sue letter.

Defendants retaliated against Plaintiff because she engaged in the protected activity of filing a

charge of discrimination with the EEOC and because she otherwise complained about civil

 

' Unfortunately, this “part-time schedule” came at great cost to Plaintii`f who was forced to exhaust her FMLA,
annual leave and then LWOP.

2 The EEOC usually only makes such findings of discrimination in the most obvious and egregious cases of
violations ofthe civil rights laws it enforces

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rights violations

Defendants failed to provide adequate training to managers and supervisors regarding disability
law, reasonable accommodations, retaliation and its and-harassment policies and procedures
For example, for years alter her initial diagnosis Plaintiff’S “part-time schedule” came at great
cost to her because she was forced to exhaust her FMLA, annual leave and then LWOP
instead of being provided the rather obvious and reasonable accommodation of an actual
part-time schedule.

Defcndants breached the implied contract of employment and implied covenant of fair dealing
and good faith by failing to treat Plaintiff fairly relative to her coworkers regarding her initial
requests for an ergonomic desk and chair and by failing generally to evaluate her requests for
reasonable accommodation based solely upon obj ective, work-related criteria

Defendants breached various enforceable promises to Plaintiff by intentionally failing to treat
Plaintiff fairly relative to her coworkers or to evaluate her requests for reasonable
accommodation based solely upon objective work-related criteria

Defendants breached the duty to reasonably supervisor its managers by failing to exercise
reasonable care in the supervision of Patricia llauregui, ADA Coordinator and Human
Resources Supervisor, and others.,

Defeudants acted knowingly to discriminate against Plaintiff on the basis of disability and
retaliation in violation of state and federal law.

Defendant’s actions proximately caused Plaintiff West’s damages and injuries including, but
not limited to, devastating stress and exacerbation of her multiple sclerosis, severe physical and
emotional pain and suffering, loss of work-related benefits such as accumulated annual and sick

leave, damage to her professional reputation and opportunities for continued professional

 

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advancement

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VIOLA’I`ION OF THE AMERICANS WITH DISABILITlE-S ACT 1990
(RETALIAT!ON)

Plaintiff incorporates by reference each of the allegations set forth in the preceding paragraphs

. Def`endants retaliated against Plaintiff in the manner described herein because she filed a charge

of disability discrimination or otherwise engaged in conduct to secure rights guaranteed by the
ADA and state law.

The aforementioned retaliation adversely affected the terms, conditions and privileges of
employment enjoyed by Plaintil"f.

Det`endants’ actions were intentional, willfnl, wanton and malicious

CO_ U N in

VIOLATION OF THE AMERICANS WITH I)ISABILITIES ACT 1990
(HOSTILE WORK ENVIRONMENT) '

PlainnH` incorporates by reference each of the allegations set forth in the preceding paragraphs
Defendants retaliated against Plajntiff in the manner described herein because she filed a charge
of disability discrimination or otherwise engaged in conduct to secure rights guaranteed by the
ADA and other federal and state disability-related lawsv

The aforementioned retaliation adversely affected the terms, conditions and privileges of
employment enjoyed by Plaintiff` and created a hostile work environment which directly led to
Plaintii`t"s worsening symptoms and consequent and constructive/forced early retirement

Defendants’ actions were intentional, willful, wanton and malicious

 

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COUNT III
FIRST AMENDMENT!PUBLIC POLICY
Plaintiff incorporates by reference each of the allegations set forth in the preceding paragraphs
Defendants treated Plaintiff less favorably as stated herein in retaliation for Plaintifi’s free
expression of opposition to discrimination in violation of 42 U.S.C. § 1983, the First
Amendment to the U.S. Constitution and the public policy of the State of New Mexico_

Defendants’ actions were intentional, willful, wanton and malicious

COUNT IV

NEGLlGENT SUPERVISION
Plajntiff incorporates by reference each of the allegations set forth in the preceding paragraphs
Defendants failed to exercise reasonable care in the supervision of managers and supervisors
responsible for the delayed provision of the reasonable accommodation and harassing conduct
in violation ot`New Mexico common law.
Defendants failed to provide adequate training regarding reasonable accommodation, retaliation
and the Departinent’s and-harassment policies and procedures
Defendants failed to heed warnings that Plaintifi’s health was being damaged as a result of the

failure to cooperate in the provision of the required reasonable accommodation

. As a result of Defendants’ negligence, Plaintiff suffered foreseeable and proximate harm to her

health and to the terms, conditions and privileges of her employment, including her continued
employment and to her personal and professional reputations
Defendants’ actions were negligent harmful, and without due regard to the duties owed

Plaintiff and its disable employees

 

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COUNT V
BREACH OF IMPLIED CONTRACT

46. Plaintiff incorporates by reference each of the allegations set forth in the preceding paragraphs

47. Defendants made an implied agreement with Pla;intiff that she would not be retaliated against
for complaining about violations of law and state rules and regulations, and that she would be
treated fairly relative to her coworkers and that her request for reasonable accommodations
would be evaluated based solely upon objective, work-related criteria

48. Defendants’ representations,` promises, and conduct were sufficient to induce reasonable
expectations on the behalf of Plaintiff that she would be treated fairly relative to her coworkers
and that her request for reasonable accommodations would be evaluated based solely upon
objective, work-related criteria

49. Despite the implied contract Det`endants failed to treat Plaintiff fairly relative to her coworkers
or to evaluate her request for reasonable accommodations solely upon objective, work-related

50. Defendants1 actions in breach of the implied contract were intentional, willful, wanton and

malicious

CGUN'I` VI

BREACH OF lM?LIED COVENANT ()F GOOD FAITH
AND FAIR DEALING

5l . Plaintiff incorporates by reference each of the allegations set forth in the preceding paragraphs
52. Pursuant to New Mexico common law, the aforementioned implied contract included an

implied covenant of good faith and fair dealing

 

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Det`endant’s actions, as complained of herein, were undertaken in bad faith with complete and
deliberate disregard for the contractual rights of Plaintili` West in violation of the covenant of
good faith and fair dealing

Defendant’s actions injured Plaintift‘s rights to receive the benefits of the implied agreement

Defendant’s actions were intentional, williiil, wanton and malicious

COUNT VII

PROMISSORY ESTOPPEL
Plaintiff incorporates by reference each of the allegations set forth in the preceding paragraphs
Defendant made promises to Plaintiff that she would not be retaliated against for complaining
about violations of law and state rules and regulations, that she would be treated fairly relative
to her coworkers and that her requests for reasonable accommodation would be evaluated based
solely upon objective, work-related criteria Defendant should have reasonably expected these
promises to induce action or forbearance on the part of Plaintiff West.
Plaintift’s reliance on the promises of Defendants was reasonable
Defendants are bound by the promise they made to Plaintiff West.
Defendant’s actions in violation of the aforementioned promises were intentional, willful,

wanton and malicious

RELIEF REQUESTED

WHEREFORE, Plaintiti` prays forjudgment as follows:

A.

B.

C.

Cornpensatory and punitive damages.
Pre-j udgment and post-judgment interest, as allowed by law.

Reasonable costs and attorneys fees incurred in bringing this action

 

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D. Such other relief as the Court deems just and proper.

JURY TRIAL DEMANDEB

 

Plaintit`f hereby demands a trial by jury on all counts and issues so triable.

REsPECTFULLY sUBMITTEn this 2““ day or April, 2009.

PAUL M. GAYLE-SM!TH

 

Law Ofiice of Paul M. Gayle-Smith
2961 Sundance Circle
Las Cruces, NM 88011

Attorney for Plaintiff

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STATE OF NEW MEXICD

  

COUNTY OF DONA ANA -**~i a
THIRD JUDICIAL DISTRICT COURT

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Plaineiff(s)
v. no. ctr-2009
WM 7@¢1%/// Jerald A.Valentine

Defendant(s} '

DRDER REQUIRING SCHEDULING REPORTS AND
h DISCOVERY PLAN AND LIMITING STIPULATIONS
TO ENLARGE TIME FOR RESPONSIVE PLEADINGS

IT IS ORDERED:

A. Plaintiff shall serve a copy of this order on each
defendant with the summons and complaint and file a certificate
of such service. Parties other than plaintiffs who assert claims
against others who have not been served with this order shall
serve a copy of this order on those against whom they assert
claims with the pleading asserting such claims and shall file a
certificate of such service.

B. Sixty {EO} days after the complaint is filed, parties
of record shall file a scheduling report with copies to opposing
parties and the assigned judge. Parties shall confer and are
encouraged to file a Joint Scheduling Report, LRE-Form 2.12 NMRA

for Track A or LRB-Form 2.13 for Tracks B and C, (See Appendix to
these local rules for all forms} or, if they cannot agree, file

an individual Scheduling Report, LRB-Form 2.13 NMRA.

 

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C. Any party who enters the case more than sixty (60]
days after the filing of the complaint shall file a scheduling
report within ten (lO) days.

D. If all parties are not of record within sixty (60) days
of filing the initial pleading, the party making claims against

the absent parties (Plaintiff for Defendants, Third-Party
Plaintiffs for Third Party Defendants, etc.) shall, within five

(S) business days after the 60th day, file and serve parties of
record and deliver to the assigned judge, a written explanation
following LR3-Form 2.14 NMRA, "Delay in Putting the Matter at
lssue".

E. Counsel or parties who do not have attorneys may not
stipulate to an enlargement of time greater than fourteen (14)
days for the filing of a responsive pleading without a motion and
order. The motion shall state with particularity the reason an
enlargement is in the best interests of the parties. A copy of
the motion and stipulation shall be delivered to all parties as
well as counsel. The enlargement requested shall be for a
specified time.

F. When all parties have been joined and the case is at
issue, the parties shall immediately notify in writing the
assigned judge and the alternative dispute resolution
coordinator.

G. If appropriate, the court will refer this matter to
settlement facilitation under Part VII of the Local Rules of the
Third Judicial District Court.

H. For Cases subject to arbitration under Local Rule LR3-
706 NMRA, the parties may file a written stipulation to waive
facilitation with a copy to the ADR coordinator and the assigned

judge within sixty (60) days after the complaint has been filed

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or ten (10) days after all parties are joined if LR3~Form 2.14
NMRA has been filed. If the parties cannot stipulate, the party
seeking waiver of facilitation may file a motion for relief from
facilitation.

I. Within seventy~five {75) days from the date the
Complaint was filed, or fifteen (15) days after the case is at
issue if LRB-Form 2.14 NMRA has been filed, the parties shall
either: n

(1) Stipulate to a discovery plan and file the

stipulation with the court, or

(2) Request a hearing to establish a discovery plan

pursuant to Paragraph F of Rule 1-016 NMRA.

(3} In the absence of a stipulated discovery plan or a

timely request from a party for a hearing to establish a
discovery plan, the following discovery plan shall go into
effect:

Within one-hundred (lOO) days after the complaint was
filed or fifteen (15) days after a party has entered the
suit, whichever is the later date, each party shall provide
to all other parties:

a. The name and, if known, the address and
telephone number of each individual likely to have
discoverable information relevant to disputed issues raised
by the pleadings, identifying the subjects of the
information;

b. A copy of, or a description by category and
location of, all documents, data compilations, and tangible
things in the possession, custody, or control of the party
that are relevant to disputed issues raised by the

pleadings;

 

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c. A computation of any category of damages
claimed by the disclosing party, providing copies or making
available for inspection and copying the documents or other
evidentiary materials and medical records and opinions, not
privileged or protected from disclosure, on which such
computation is based, including materials bearing on the
nature and extent of injuries suffered;

d. For inspection and copying, any insurance
agreement under which any person carrying on an insurance
business may be liable to satisfy part or all of a judgment
which may be entered in the action or to indemnify or
reimburse for payments made to satisfy the judgment.

e- If the medical condition of a party is at
issue, such party shall provide medical records or give a
medical release authorization to opposing parties consistent
with the Court of Appeals ruling in Pina v. Espinosa, 130 NM
661,29 P3d 1062 (2001). The parties shall confer regarding
the nature and extent of the medical records disclosure or
release authorization and stipulate if possible. If the
parties cannot agree, each party shall file a memorandum
with a proposed records disclosure or release authorization
advocating that party's position to the court. A copy of
the memorandum and proposed form shall be delivered to the
assigned judge. Rule 1-007.1 NMRA shall apply.

J. Pursuant to Rule l~OZG(E) NMRA, parties shall
seasonably supplement discovery required in subparagraphs (3](a)

through {e) of Paragraph I of this order.

 

istrict Judge, Division IV

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Delivered with the Ws to Pl ` iff this _£_ day of
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GREG TOOMEY

Court Adrnjnistrator

BY= ‘_Mnbma_!.m'ggn
Clerk '

 

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STATE 0F NEW MEXICO
COUNTY oF I)oNA ANA
THIRI) JUDICIAL DISTRICT COURT

ULRIKE M. WEST,
Plain¢iff,

CIVIL ACT_ION NO. 2009-834
J`UDGE JERALD A VALENTINE

NEW MEXICO TAXATION & REVENUE)
DEPARTMENT, and PHILLIP SALAZAR) JURY TRlAL DEMANDED

Defendants. )
)
}
SUMMONS
THE STATE OF NEW MEXICO

TO: Rick I-lomans, Secretary
New Mexico Taxarion and Revenue Department
foseph Montoye Bldg.
1100 S. St_ Francis Drive
Santa Fe, New Mexico 87501

You are required to serve upon Paul M. Gayle-Smith, Esq. an answer or motion in
response to the complaint Which is attached to this summons within twenty (20) days
after service of this summons upon you, exclusive of the day of service, and tile a copy of
your answer or motion with the court as provided in Rule 1-005 NMRA.

If you fail to file a timely answer or motion, default judgment may be entered
against you for the relief demanded in the complaint

Attomey for plaintiff Paul M. Gayle-Smith, Esq., 2961 Sundance Circle, Las Cruces,
New Mexieo 80011-4609, Phone: 575 .522.8300, Email: GayleSmithEsq@aoi.com

WITNESS the Honorable Jerald A. Valentine, district judge of the Third Judicial
District Court of t e State ofNew Mexico, and the seal ofthe District Court of Dona
County, this day of June, 2009.

/9/ GREGORY s=. TooMEY

 

 

Dated: June ll), 2009

 

